                   Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 1 of 10
                                                                                                              RECEIVED
                                        IN THE UNITED STATES DISTRICT COURT                                         AUG 03 2016
                                            FOR THE DISTRICT OF MONTANA                                          C)er~. U.S. Courts
                                                                                                                 D1~tnct of Montana
                                                                                                                  Missoula Division
                                      _ _ _ _ _ _ _ _ _ _ _ _ _ DIVISION
                                        (You must fill in this blank. See Instruction F)




                                                                                      Case No.
                                                                                                  ~---------
           (Write the full name of each plaintiff who is filing this                   (to befilled in by the Clerk's Office)
..         complaint. Each named plaintiff must sign the
           complaint.)

                                        Plaintiff,
           -against-                                                                                 COMPLAINT
                                                                                                 (Pro Se Non-Prisoner)
            C/, reap T/!eJnsr.M?~n~ aM/any
                                                                                     Jury Trial Demanded: o Yes D No
                                                                                                           (check one)


           (Write the full name(s) of each defendant who is being
           sued. If the names of all the defendants cannot fit in
           the space above, please write "see attached" in the
           space and attach an additional page with the full list
           of names. The names listed in the above caption must
           be identical to those contained in Section II. Do not
           include addresses here and do not use et al.)

                                        Defendants.

                                                        NOTICE
     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public
     access to electronic court files. Under this rule, papers filed with the court should not contain: an
     individual's full social security number or full birth date; the full name of a person known to be a minor;
     or a complete financial account number. A filing may include only: the last four digits of a social security
     number; the year of an individual's birth; a minor's initials; and the last four digits of a financial account
     number.

     Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other materials to the
     Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to


          Pro Se Non-Prisoner Complaint Form                                                               (Revised April 2016)
          Plaintiff's Last Name __S:-=-""'"'-'-/J-'-r'-'/111'-'a:..:..:n:..i...__ _ _ _ _ _ __                    Page 1 of8
       Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 2 of 10



                                        INSTRUCTIONS

1.     Use this form to file a civil complaint with the United States District Court for the
       District of Montana. Include only counts/causes of action and facts - not legal arguments
       or citations. You may attach additional pages where necessary. Your complaint must be
       typed or legibly handwritten in ink and on white paper. Write on only one side of the
       paper. Do not use highlighters and do not staple or otherwise bind your papers. All
       pleadings and other papers submitted for filing must be on 8 Yz" x 11" paper (letter size).
       You must sign the complaint (see page 8). Your signature need not be notarized but it
       must be an original and not a copy. The Clerk's Office cannot provide you copies of
       documents in your file without prepayment of $0.10 per page (for documents
       electronically available) or $0.50 (for documents not electronically available). Please
       keep a copy of the documents you send to the Court.

2.     The filing fee for a complaint is $350.00 plus a $50.00 administrative fee for a total of
       $400.00. This amount is set by Congress and cannot be changed by the Court. If you pay
       the filing fee, you will be responsible for serving the complaint on each defendant and
       any costs associated with such service.

3.     If you are unable to prepay the entire filing fee and service costs for this action, you may
       file a motion to proceed in forma pauperis.

4.     Complaints submitted by persons proceeding in forma pauperis must be reviewed by the
       Court before defendants are required to answer. See 28 U.S.C. § 1915(e)(2). The Court
       will dismiss your complaint before it is served on defendants if: (1) your allegation of
       poverty is untrue; (2) the action is frivolous or malicious; (3) your complaint does not
       state a claim upon which relief may be granted; or (4) you sue a defendant for money
       damages and that defendant is immune from liability for money damages. After the
       Court completes the review process, you will receive an Order explaining the findings
       and any further action you may or must take. The review process may take a few months;
       each case receives the judge's individual attention. Plaintiffs should not serve
       defendants, pursue discovery, or request entry of default judgment prior to the completion
       of this review process.

5.     The case caption (page 1 of this form) must indicate the proper Division for filing. The
       proper Division is where the alleged wrong(s) occurred. When you have completed your
       complaint, mail the original of your complaint and either the full filing fee or your
       motion to proceed in forma pauperis to the proper Division:

Billings Division:    Big Horn, Carbon, Carter, Custer, Dawson, Fallon, Garfield, Golden

Pro Se Non-Prisoner Complaint Form                                             (Revised April 2016)
Plaintiff's Last Name --~--=u~//,_,_<i-v4=t<.L..Jn,___________                        Page2 of8
       Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 3 of 10



                     Valley, McCone, Musselshell, Park, Petroleum, Powder River, Prairie,
                     Richland, Rosebud, Stillwater, Sweetgrass, Treasure, Wheatland, Wibaux,
                     and Yellowstone Counties
     U.S. District Court Clerk, 601 2nd Avenue North, Suite 1200, Billings, MT 59101

Butte Division:         Beaverhead, Deer Lodge, Gallatin, Madison, and Silver Bow Counties
                     U.S. District Court Clerk, 400 N. Main, Butte, MT 59701

Great Falls Division: Blaine, Cascade, Chouteau, Daniels, Fergus, Glacier, Hill, Judith Basin,
                      Liberty, Phillips, Pondera, Roosevelt, Sheridan, Teton, Toole, and Valley
                      Counties
            U.S. District Court Clerk, 125 Central Ave. West, Great Falls, MT 59404

Helena Division:       Broadwater, Jefferson, Lewis & Clark, Meagher, and Powell Counties
             U.S. District Court Clerk, 901 Front St., Ste 2100, Helena, MT 59626

Missoula Division:      Flathead, Granite, Lake, Lincoln, Mineral, Missoula, Ravalli, and Sanders
                        Counties
                  U.S. District Court Clerk, P.O. Box 8537, Missoula, MT 59807

I.     Parties to this Complaint
       A.     Plaintiff

                Provide the information below for each plaintiff named in the complaint. Attach
                additional pages if needed.
                       Name
                         Street Address
                        City and County
                         State and Zip Code
                        Telephone Number
                         E-mail Address


       B.       Defendant(s)

                        Provide the information below for each defendant named in the complaint,
                        whether the defendant is an individual, a government agency, an
                        organization, or a corporation. Make sure that the defendant(s) listed
                        below are identical to those contained in the above caption. For an


Pro Se Non-Prisoner Complaint Form                                           (Revised April 2016)
Plaintiff's Last Name       Su //,VaM                                               Page 3 o/8
        Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 4 of 10



                      individual defendant, include the person's job or title (if known) and check
                     whether you are bringing this complaint against them in their individual
                      capacity or official capacity, or both.
        Defendant No. 1:
                 Name                                Ch,~a 7?/-&:L1.sv..r-'~-"'~ Co~pe-111
                 Job or Title                                                                         (if known)
                                                     ~~------------:---~-~


                 Street Address                       :253 3 /f/d'r/I.     I I 2 di /f ve ,
                 City and County
                 State and Zip Code
                 Telephone Number
                 E-mail Address
                       D    Individual capacity                    o     Official capacity


        Defendant No. 2:
                 Name
                 Job or Title                        _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (if known)
                 Street Address
                 City and County
                 State and Zip Code
                 Telephone Number
                 E-mail Address                                                                       (if known)
                                                     ~~-------~------~


                       o    Individual capacity                    o     Official capacity


        Defendant No. 3:
                 Name
                 Job or Title                                                                         (if known)
                                                     ~--------~------~


                 Street Address
                 City and County
                 State and Zip Code
                 Telephone Number
                 E-mail Address                                                                       (if known)
                                                     ~---------------~


                       o    Individual capacity                    o     Official capacity

Pro Se Non-Prisoner Complaint Form                                                           (Revised April 2016)
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Plaintiff's Last Name __S---'-w..... {/h'""":.<l."""'n_.__ _ _ _ _ _ _ _ __                         Page4 of8
       Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 5 of 10



       Defendant No. 4:
               Name
               Job or Title
               Street Address
               City and County
               State and Zip Code
               Telephone Number
               E-mail Address
                     o Individual capacity                o Official capacity
  (NOTE: If more space is needed to furnish the above information, continue on a blank sheet
                           labeled "APPENDIX A: PARTIES").

II.    Basis for Jurisdiction
          Check the option that best describes the basis for jurisdiction in your case:
       o      Federal Question: Claims arising under the Constitution, laws, or treaties of the
              United States. This includes claims brought under 42 U.S.C. § 1983 against state
              or local officials for the "deprivation of any rights, privileges, or immunities
              secured by the Constitution and [federal laws]."                          -

       o       U.S. Government Defendant: United States or a federal official or agency is a
               defendant. This includes claims brought against federal employees under Bivens
               v. Six Unknown Named Agents of Fed. Bureau ofNarcotics, 403 U.S. 388 (1971)

       ~       Diversity of Citizenship: A matter between individual or corporate citizens of
               different states and the amount in controversy exceeds $75,000.

III.   Venue
               This court can hear cases arising out of the District of Montana. Under 28 U.S.C
               § 1391, this is the right court to file your lawsuit if: (1) All defendants live in this
               state AND at least one of the defendants lives in this district; OR (2) A s-µbstantial
               part of the events you are suing about happened in this district; OR (3) A
               substantial part of the property that you are suing about is located in this district;
               0 R (4) You are suing the U.S. government or a federal agency or official in their
               official capacities and you live in this district.

               Please explain why venue is appropriate in this Court:
               cveryfh,7 h"'l'rNA /n fit,f t1flrl·ocf
Pro Se Non-Prisoner Complaint Form                                               (Revised April 2016)
Plaintiff's Last Name _ _5;_u"-"-"'/t'--L1-LVi'"""®=-"---------                         Page5 of8
       Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 6 of 10



IV.    Statement of Claim(s)
       State as briefly as possible the facts of your case. Describe how each defendant was
       personally involved in the alleged wrongful action, along with the dates and locations of
       all relevant events. You may wish to include further details such as the names of other
       persons involved in the events giving rise to your claims. Do not cite any cases or
       statutes. If more than one claim is asserted, number each claim and write a short and
       plain statement of each claim in a separate paragraph.

       A.      Count I:
               1.     What federal constitutional or statutory right(s) do you claim is/are being
                      violated by defendants?




               2.      What date and approximate time did the events giving rise to your claim(s)
                       occur?     5£G       llff-1+-c l+~D 5/IG:"T




               3.      Supporting Facts: (Include all facts you consider important, including
                       names of persons involved, places, and dates. Describe what happened
                       without citing legal arguments, cases, or statutes).
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               4.      Defendants Involved: (List the name of each defendant involved in
                       this claim and specifically describe what each defendant did or did
                       not do to allegedly cause your injury).
                                5£e      .A-774~'/fef)    5/fGeT




 (NOTE: For each additional claim, use a blank sheet labeled "APPENDIX B. STATEMENT
     OF CLAIMS." You must address paragraphs IV(A)(l-4) for each count., following the
                                                             directions under IV.
Pro Se Non-Prisoner Complaint Form                                                 (Revised April 2016)
Plaintiff's Last Name __.Si-=-"11'.......
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                                                                                          Page 6 o/8
       Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 7 of 10



V.     Injuries
       If you sustained injuries related to the events alleged above, describe your injuries and
       state what medical treatment, if any, you required and did or did not receive. (Do not cite
       legal arguments, cases, or statutes). Attach additional pages if needed.

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  (NOTE: If more space is needed to furnish the above information, continue on a blank sheet
                           labeled "APPENDIX C: INJURY").

VI.    Relief
       State briefly what you want the court to do for you. Make no legal arguments. Do not cite
       any cases or statutes. If requesting money damages, include the amounts of any actual
       damages and/or punitive damages claimed for the acts alleged. Explain the basis for
       these claims. _fit/ fbhcy IJM~11·J; ?rlce o..PwU L"'1euln C.vrrl-y 4 cceJf ed
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  (NOTE: If more space is needed to furnish the above information, continue on a blank sheet
                      labeled "APPENDIX D: REQUEST FOR RELIEF").
Pro Se Non-Prisoner Complaint Form                                            (Revised April 2016)
Plaintiff's Last Name ---'.5=--~'-"/-'-'/1.__,'\h:..::.'t'<='..,-'-----------        Page 7 of8
        Case 9:16-cv-00098-DLC-JCL Document 2 Filed 08/03/16 Page 8 of 10



VII.    Plaintiff's Declaration

        A.       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
                 of my knowledge, information, and belief that this complaint: (1) is not being
                 presented for an improper purpose, such as to harass, cause unnecessary delay, or
                 needlessly increase the cost of litigation; (2) is supported by existing law or by a
                 nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
                 factual contentions have evidentiary support or, if specifically so identified, will
                 likely have evidentiary support after a reasonable opportunity for further
                 investigation or discovery; and (4) the complaint otherwise complies with the
                 requirements of Rule 11.

        B.       I understand I must keep the Court informed of my current mailing address and
                 my failure to do so may result in dismissal of this Complaint without notice to me.

        C.      I understand the Federal Rules of Civil Procedure prohibit litigants filing civil
                complaints from using certain information in documents submitted to the Court.
                In order to comply with these rules, I understand that:
                •      social security numbers, taxpayer identification numbers, and financial
                       account numbers must include only the last four digits (e.g. xxx-xx-5271,
                       xx-xxx5271, xxxxxxxx3567);
                •      birth dates must include the year of birth only (e.g. xx/xx/2001); and
                •      names of persons under the age of 18 must include initials only (e.g. L.K.).
                If my documents (including exhibits) contain any of the above listed information,
                I understand it is my responsibility to black that information out before sending
                those documents to the Court.
             I understand I am responsible for protecting the privacy of this information.

        D.      I understand the submission of a false statement or answer to any question in this
                complaint may subject me to penalties for perjury. I declare under penalty of
                perjury that I am the Plaintiff in this action, I have read this complaint, and the
                information I set forth herein is true and correct. 28 U.S.C. § 1746; 18 U.S.C.
                §1621.
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                                     (Location)                                            (Date)

                 Signature of Plaintiff:            Jft; ~.S~Wl-._._
                 Printed Name of Plaintiff:__:JJ=.,,__//,__~+'1-"-B~u" " ~"'-'1el_. SZ. .:.:u. L. l!. !. l . L.:VA. . :; n_,_ _ _ _ __

Pro Se Non-Prisoner Complaint Form                                                                              (Revised April 2016)
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